Case 2:22-cv-02174-STA-jay Document 92 Filed 09/28/22 Page 1 of 2                   PageID 976




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              EASTERN DIVISION


                                           )   MDL DOCKET NO.
IN RE: AME CHURCH EMPLOYEE                 )   1:22-md-03035-STA-jay
RETIREMENT FUND LITIGATION                 )
                                           )   ALL CASES



                               NOTICE OF APPEARANCE



       COMES NOW Benjamin M. Stoll, with the law firm Carlton Fields, P.A., and hereby files

this Notice of Appearance as counsel for Defendant Symetra Financial Corporation.

Dated: September 28, 2022                      Respectfully submitted,

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Case 2:22-cv-02174-STA-jay Document 92 Filed 09/28/22 Page 2 of 2        PageID 977




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